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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AARON RICH, Case No. 1:18-cv-00681-RJL
Honorable Richard J. Leon

Plaintiff,

Vv,

EDWARD BUTOWSKY,

MATTHEW COUCH

AMERICA FIRST MEDIA,
Defendants.

DECLARATION OF KRISTINA BORJESSON IN SUPPORT OF OPPOSITION
TO MOTION TO INTERVENE OF LUMINANT MEDIA

I, Kristina Borjesson, declare under penalty of perjury that the following is true and

correct;

1. I am an independent journalist with an award-winning radio show which provides
an alternative to corporate media.

2. I am the host of The Whistleblower Newsroom, a radio show that covers heavily
censored stories, many of which are covered up by official narratives and disinformation and that
airs around the world on various audio and audiovisual media platforms.

3. The Whistleblower Newsroom has extensively covered the Seth Rich story and
the alleged Russian hacking of the DNC. |

4. I have interviewed various individuals connected professionally or otherwise with

Seth Rich story, including counsel to Defendants, former CIA analyst Ray McGovern, former

NSA Technical Director Bill Binney and investigative journalist Seymour Hersh.
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$. On or about July 5, 20201, 1 became aware that Luminant Media, Inc. was
secking to unseal certain discovery materials that had been produced by Defendants in
connection with the above-captioned litigation.

6. My audience is intensely interested in the Scth Rich affair and is particularly
interested in discovery material produced by Plaintiff in connection with the litigation.

7. If the Court appears amenable to unsealing discovery materials considered in
connection with motions I intend to seck permission to intervene to unseal or lift the
confidentiality on discovery materials produced by Plaintiff and other documents that influenced
the Court's decisions in this matter, including the following:

the full record filed under seal in connection with the Motion to De-Designate including
all attachments thereto; the depositions of Sy Hersh and Ellen Ratner and materials
submitted under seal in connection therewith; the documents submitted under seal in
connection with Defendants’ Motion to Extend Discovery, Dkts 103, 117 and 129;
Plaintiff's Sealed Reply to Defendants’ Opposition to Motion for Sanctions, Dkt. 119;
Defendant Couch’s Sealed Filing of Supplemental Authority for Permission to Take Five
Depositions, Dkt. 141; Plaintiff's Sealed Motion to Compel, Dkt. 172; Defendants’
Scaled Motion for Leave to File Documents under Seal and the exhibits thereto in
connection with outstanding discovery requests responding to the Court’s March 20,
2020 order, Dkt. 174; Plaintiffs sealed motion dated June 3, 2020, Defendant's sealed
opposition thereto, dated June 17, 2020, and Plaintiff's sealed reply, dated June 24, 2020,
Dkts. 211, 216,217; Plaintiffs Sealed Motion entered September 27, 2020, Defendant's
Scaled Opposition, entered September 27, 2020 and Plaintiff's Sealed Reply entered
September 27, 2020, Dkts. 281, 282, and 283; Defendants Sealed Motion for
Reconsideration and Permission to Take Additional Depositions and the Exhibits thereto,
dated September 25, 2020. Dkt. 258, Plaintiff's Sealed Response dated October 9, 2020
Dkt. 274.

£ I believe many other progressive media outlets also have audiences with intense
interest in the scaled materials filed in this case.

Dated: July 30, 2021
114 Miller Avenue
Sayreville, New Jersey 08872

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Kristina Borjesson_ i
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